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Barry H. Berke
Partner                                          1177 Avenue of the Americas
T 212.715.7560                                   New York, NY 10036
F 212.715.7660                                   T 212.715.9100
bberke@kramerlevin.com                           F 212.715.8000




July 20, 2023

Via ECF

The Honorable J. Paul Oetken
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

            Re:   United States v. Benjamin, No. S2 21 Cr. 706 (JPO)

Dear Judge Oetken:

                We write on behalf of our client Brian Benjamin to respectfully request a
modification to the conditions of his release to permit him to travel with his family from
August 8, 2023 to August 10, 2023 to Massachusetts, and from August 20, 2023 to
August 26, 2023 to North Carolina. Mr. Benjamin will provide Pretrial Services with a
detailed itinerary and continue to abide by all conditions of supervision. The
government, by Assistant United States Attorney Jarrod Schaeffer, and Pretrial Services,
by Officer Jazzlyn Harris, have advised that they have no objection to this request.


Respectfully submitted,

/s/ Barry H. Berke

Barry H. Berke
Dani R. James


cc:         All Counsel (via ECF)




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